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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 _ ~2
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SAMMIE L. NETTERS, JR., et al.,
Plaintiffs,
v.

NO. 04-2396 Ma/V

TENNESSEE DEPT. OF CORRECTION,
et al.,

Defendants.

 

ORDER REQUIRING PLAINTIFFS TO RESPOND TO DEFENDANTS’ MOTIONS TO
DISMISS AND TO DEFENDANT JONES' “ADDENDUM” TO HER MOTION TO
DISMISS BY JULY 5, 2005

 

Before the court is defendant Tennessee Department of
Correction's Novemher 17, 2004, motion to dismiss. Also before the
court is defendant Brenda Jones’ December 20, 2004, motion to
dismiss. On April 5, 2005, this court entered an order to show
cause requiring the Plaintiffs to respond. to the Defendants'
motions to dismiss within eleven days from the date of the order.
On April 15, 2005, Plaintiffs filed a “Motion for Extension of Time
to Respond to the Show Cause Order” which was granted by the court
on April 19, 2005. On April 22, 2005, defendant Brenda Jones filed
an “addendum” to her motion to dismiss. On April 25, 2005,
Plaintiffs responded to the show cause order. In their response,

the Plaintiffs asked the court to allow them additional time to

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with Ru|e 58 and/or 79 (a) FRCP on “ ‘G

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obtain_ initial discovery' before responding to the motions to
dismiss. The Plaintiffs also asked the court for additional time to
respond to the addendum to Jones' motion to dismiss.

There is no need for the Plaintiffs to obtain “initial
discovery” before responding to the Defendants’ motions to dismiss.
A motion to dismiss under Fed. R. Civ. P. 12(b)(6) is a defense
that is based solely on alleged legal deficiencies of a plaintiff’s
complaint. Barrett V. Harrinqton, 130 F.Bd 246, 251 (6th Cir.
1997). Therefore, in determining whether to grant or deny a motion
to dismiss the court considers only the facts alleged in the
complaint and does not consider whether those factual allegations
are supported by evidence. Thus, the Plaintiffs do not need time
for discovery before responding to the motions to dismiss.

Defendant Jones’ addendum, however, raises additional legal
issues not raised in her original motion to dismiss, and Plaintiffs
will need additional time to respond. to these new arguments.
Plaintiff is hereby ordered to respond to both motions to dismiss

and to defendant Jones' “addendum” by Tuesday, July 5, 2005.

So ordered this °'°` day of June 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

